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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Newport News Division                                flLED

 LIBERTY COUNSEL, INC.,
                                                                                        JAN 2 3 ?0I8 ii^
                       Plaintiff,

 V.                                                            CIVIL ACTION NO. 4:17cv71


 GUIDESTAR USA, INC.,

                       Defendant.



                           MEMORANDUM OPINIONAND ORDER


        This matter comes before the Court on GuideStar USA, Inc.'s ("Defendant") Motion to

 Dismiss, pursuant to Federal Rule of Civil Procedure 12(b)(6), to dismiss the lawsuit of Liberty

 Counsel, Inc. ("Plaintiff). Having reviewed the Parties' filings in this case, the Court finds this

 matter is ripe for judicial determination. For the reasons set forth below, Defendant's Motion to

 Dismiss is GRANTED.


                        I. FACTUAL AND PROCEDURAL HISTORY

        Plaintiff, Liberty Counsel, is a nonprofit education, advocacy, and legal defense

 organization dedicated to advancing religious freedom, the sanctity of human life, and the

 preservation of family values from a Christian and Biblical perspective. Liberty Counsel relies

 on its good reputation to attract and receive charitable donations from individuals, groups,

 churches, organizations, foundations, and others.        Defendant, GuideStar, is a nonprofit

 organization whose purpose is to encourage philanthropy by providing information about

 nonprofits that members of the public can use to make educated and informed decisions about

 their relationships with and donations to these nonprofits. In 1996, GuideStar began publishing a



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 "Directory of American Charities," and the website currently maintains individual profiles with

 information about 1,684,038 active nonprofit organizations. Specifically, Liberty Coimsel is one

 of the nonprofit organizations profiled on GuideStar's website.

        In 2017, GuideStar began to include at the top of its "profile" pages for 46 nonprofit

 organizations this note: "This organization has been flagged as a hate group by the Southern

 Poverty Law Center." Southern Poverty Law Center ("SPLC") holds itself out as the "premier

 U.S. nonprofit organization monitoring the activities of domestic hate groups and other

 extremists, including the Ku Klux Klan, the neo-Nazi movement, neo-Confederates, racist

 skinheads, black separatists, antigovenmient militias, Christian identity adherents, and others."

 ECF No. 17 at 10. GuideStar reports that the organization made a "judgment to trust" SPLC's

 decision to label certain groups as "hate groups" and GuideStar did not conduct its own analysis

 of whether a nonprofit deserves to be labeled a "hate group." Liberty Coimsel received SPLC's

 hate group designation and objected to this designation. Liberty Counsel believes that SPLC

 applies this label to groups based on their ideologies, rather than criminality and violence. On

 June 23, 2017, GuideStar announced its decision, on its website, that it was removing the SPLC

 notation from the profiles of the 46 organizations "for the time being." ECF No. 17 at 7.

        On June 28, 2017, Plaintiff, through counsel, filed a Complaint against Defendant. ECF

 No. 1. Plaintiff alleges a claim for a violation of the Lanham Act, a claim for tortious

 interference with business expectancy, and a claim for defamation under Virginia common law.

 Plaintiff contends that Defendant violated the Lanham Act with Defendant's adoption and

 republication of SPLC's defamatory, false, and misleading representation of Plaintiff as a "hate

 group"; Defendant tortuously interfered with Plaintiffs business expectancy through its

 representation that Plaintiff is a "hate group"; and Defendant's republications were false and
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defamatory. On July 24, 2017, Defendant filed the instant Motion to Dismiss, requesting that

 this Court dismiss Plaintiffs Complaint for failure to state a claim upon which relief can be

granted. ECFNo. 16.

                                      11. LEGAL STANDARD


         Federal Rule of Civil Procedure 12(b)(6) provides for dismissal of actions that fail to

 state a claim upon which relief can be granted. See Fed. R. Civ. P. 12(b)(6). The United States

 Supreme Court has stated that in order "[t]o survive a motion to dismiss, a complaint must

 contain sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its

 face." Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

 544, 570 (2007)) (internal quotations omitted). Specifically, "[a] claim has facial plausibility

 when the plaintiff pleads factual content that allows the court to draw the reasonable inference

 that the defendant is liable for the misconduct alleged." Iqbal, 556 U.S. at 678. Moreover, at the

 motion to dismiss stage, the court is bound to accept all of the factual allegations in the

 complaint as true. Id. However, "[t]hreadbare recitals of the elements of a cause of action,

 supportedby mere conclusory statements, do not suffice." Id. Assessing the claim is a "context-

 specific task that requires the reviewing court to draw on its judicial experience and common

 sense." Id. at 679.


         In considering a Rule 12(b)(6) motion to dismiss, the Court cannot consider "matters

 outside the pleadings" without converting the motion to a summary judgment proceeding. Fed.

 R. Civ. P. 12(d).      Nonetheless, the Court may still "consider documents attached to the

 complaint, see Fed. R. Civ. P. 10(c), as well as those attached to the motion to dismiss, so long as

 they are integral to the complaint and authentic."          Sec'y of State for Defence v. Trimble

 Navigation Ltd., 484 F.3d 700, 705 (4th Cir. 2007); see also Bassett v. Nat'l Collegiate Athletic
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Ass'n, 528 F.3d 426, 430 (6th Cir. 2008) ("When a court is presented with a Rule 12(b)(6)

 motion, it may consider the Complaint and any exhibits attached thereto, public records, items

 appearing in the record of the case and exhibits attached to defendant's motion to dismiss so long

 as they are referred to in the Complaint and are central to the claims contained therein.").

                                              III. DISCUSSION


         GuideStar contends that the Court should grant the Motion to Dismiss because (1)

 Liberty Counsel's Lanham Act claim fails as a matter of law; (2) Liberty Coimsel's interference

 with business expectancy claim has fatal defects, and (3) Liberty Counsel has not and carmot

 allege a plausible defamation claim.

 L Liberty Counsel's Claim for a Violation of the Lanham Act

         Liberty Counsel contends that they have sufficiently pled a claim for a violation of the

 Lanham Act.


         The Lanham Act provides.

         Any person who, on or in cormection with any goods or services, or any container
         for goods, uses in commerce any word, term, name, symbol, or device, or any
         combination thereof, or any false designation of origin, false or misleading
         description of fact, or false or misleading representation of fact, which... (B) in a
         commercial advertising or promotion, misrepresents the nature, characteristics,
         qualities, or geographic origin of his or her or another person's goods, services, or
         commercial activities, shall be liable in a civil action by any person who believes
         that he or she is or is likely to be damaged by such act.

 15 U.S.C. § 1125(a)(1)(B) (1946).' In order for a party to satisfy the threshold requirement for


         ' Thelegislative history of the Lanham Actclearly shows that the Act's false advertising provision does not
 include noncommercial speech based on the following:

         Under the proposed change only false or misleading "advertising or promotion" would be
         actionable, whether it pertained to the advertiser itself or another party. The change would
         exclude all other misrepresentations from Section 43(a) coverage. These others are the type which
         raise free speech concerns, such as a Consumer Report which reviews and may disparage the
         quality of. . . products, [and] misrepresentations made by interested groups which may arguably
         disparage a company and its products ... All of these would be judged by [F]irst Amendment law
         ... and not Section 43(a) law ....
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 asserting a violation of the Lanham Act, the defendant's "false or misleading representation

 [must] be a commercial advertisement or promotion." Handsome Brook Farm, LLC v. Humane

Animal Care, Inc., 193 F. Supp. 3d 556, 567 (E.D. Va. 2016). To determine whether a plaintiff

 has satisfied the threshold requirement, the court must address the following four-point test: (1)

 commercial advertising or promotion must be commercial speech; (2) by a defendant who is in

 commercial competition with the plaintiff; (3) for the purpose of influencing consumers to buy

 defendant's goods or services; and (4) the representations must be disseminated sufficiently to

 the relevant purchasing public to constitute "advertising" or "promotion" within that industry.

 See id. (quoting Gordon & Breach Science Publ'rs v. Am. Inst. of Physics, 859 F. Supp. 1521

 (S.D.N.Y 1994)).

         Commercial speech is "speech that does no more than propose a commercial

 transaction." See Radiance Found, Inc. v. N.A.A.C.P., 786 F.3d 316, 331 (4th Cir. 2015). To

 determine whether speech is commercial, the court looks at the following factors: (1) whether

 the speech is an advertisement; (2) whether the speech refers to specific products or services; (3)

 whether the speaker has an economic motivation for the speech; and (4) whether the listener

 would perceive the speech as proposing a transaction. See id. at 331-32 (statingthat these factors

 are cumulative and it is not necessary that all of these characteristics be present). The term

 "noncommercial" refers to the First Amendment commercial speech doctrine. Id. at 331. "The

 canon of constitutional avoidance in this area is thus not a device ofjudicial evasion but an effort

 to reconcile the commercial values protected by the Lanham Act and the democratic value of


         The proposed change in Section 43(a) should not be read in any way to limit political speech,
         consumer or editorial comment, parodies, satires, or other constitutionally protected material....
         The Section is narrowly drafted to encompass only clearly false and misleading commercial
         speech.

 135 Cong. Rec. H1216-17 (daily ed. April 13, 1989) (statement of Rep. Kastenmeier).
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 expressive freedom." Id. at 322 (stating that "information services" without any commercial or

 transactional component is speech and nothing more).

        Plaintiff argues that Defendant violated the Lanham Act because of Defendant's

 republication of SPLC's "hate group" designation. Plaintiff argues that Defendant's profile of

 Liberty Counsel is commercial speech because Defendant's profile distributes information to its

 consumers, with misrepresentations of organizations, in hopes of influencing its consumers'

 decisions to donate to specific organizations. Additionally, Plaintiff argues that its allegations

 satisfy the specific reference requirement because Defendant's adoption and republication of

 SPLC's designation of Plaintiff as a "hate group" was made in reference to Plaintiff as an

 organization and in terms of the services it provides. Plaintiff states that Defendant has an

 economic motivation for its adoption and republication of SPLC's "hate group" designation

 because Defendant's nonprofit organization fimctions on the website subscriptions of its

 customers and donations stemming from the information they provide on the website. Plaintiff

 alleges that Defendant's audience is likely to perceive Defendant's profile of Plaintiff as

 influencing consumer transactions when it comes to whether or not donors should donate to

 Plaintiffs organization.

        Plaintiff also argues that both Parties are commercial competitors because the Parties are

 competitive in the nonprofit market as they both rely on charitable giving to continue in their

 missions. Specifically, as nonprofits competing for the limited resources of philanthropic giving,

 their relationship is commercially competitive. Plaintiff notes that both Parties concede that

 Plaintiffs allegations satisfy the sufficient dissemination requirement.     Plaintiff argues that

 Defendant's false and misleading representation of fact actually deceives and has the tendency to

 deceive consumers. Defendant meant for the SPLC designation to represent an assertion of fact
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 and Plaintiffs allegation that the fact is false must be accepted as true at this stage. Additionally,

 Defendant placed its misleading representation in interstate commerce by placing the

 representation on its commercially available website. Plaintiff argues that it sufficiently pled

facts to show damage to its reputation and the likelihood of lost revenue from Defendant's

representation of fact that Plaintiff is a "hate group." Lastly, Plaintiff contends that they have

satisfied all requirements of pleading a violation of the Lanham Act, and Defendant's Motion

should be denied.


        Defendant argues that Plaintiff cannot allege a plausible claim for a violation of the

Lanham Act. Defendant contends that the SPLC notation is not misleading because Plaintiff

does not allege any facts to show that it does not fit SPLC's "hate group" label under the

definition of the term "hate group." Specifically, Defendant states that the dictionary's definition

of "hate speech" is fully consistent with Defendant's position that the "hate group" designation

does not convey that "hate groups" are a group of violent criminals. On the contrary, Plaintiff

insists that the term "hate group" should relate to groups that incite violence and criminality,

such as the Ku Klux Klan and neo-Nazis; however. Plaintiff does not present facts that hate

groups require criminality and violence. Defendant also argues that the SPLC notation was not

commercial speech because SPLC does not propose any commercial transactions. Specifically,

Defendant contends that the SPLC notation and the mission of its website are to relay

information to potential donors, not for the purpose of commercial transactions.

        Additionally, Defendant states that Plaintiff alleges no facts to show that Defendant has a

financial or economic motivation for its website or use of the SPLC notation. Defendant refutes

Plaintiffs argvmient that Defendant had economic motivation simply because Defendant's

profile page about Plaintiff offers readers the ability to purchase a "Premium or Pro Search
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Subscriptions" to read the full Plaintiff profile. Defendant contends that the website did not ask

anyone to pay to read the SPLC notation. Defendant states that it is not sufficient to demonstrate

a commercially competitive relationship simply because both Parties are nonprofit corporations.

Specifically, Defendant contends that the SPLC notation was not made in commercial

advertising, promotion, or to influence consumers to buy any of Defendant's products or services

because there are no facts to show that the notation would lead any reasonable reader to believe

that Defendant used the notation to advertise or sell anything to the reader. Plaintiff identifies no

economic motivation in Defendant's decision to add the SPLC notation to Plaintiffs profile page

because there are no facts to show that Defendant stood to gain anything financially from the

SPLC notation.


       The Court finds that Plaintiff has not sufficiently pled a claim for a violation of the

Lanham Act. Plaintiff did not sufficiently plead facts to satisfy the first element of a Lanham

Act violation because the Court determines that Defendant's statement is not commercial speech.

       The Court finds that Defendant's use of SPLC's notation is not commercial speech

because the notation does not fall under the type of speech that violates the Lanham Act.

Defendant's review of Plaintiffs organization would fall under the laws of the First Amendment,

not that of the Lanham Act. See Radiance Found., 786 F.3d at 331; see also 135 Cong. Rec.

HI216-17. Specifically, Defendant has an expressive right to comment on social issues under

the First Amendment. See Radiance Found., 786 F.3d at 332. The notation is similar to a

consumer report addressed in the aforementioned legislative history of the Lanham Act. See 135

Cong. Rec. H1216-17. The notation simply states the SPLC's review of Plaintiffs organization,

and that review labels Plaintiffs organization as a "hate group." Defendant's notation does not

request or propose a sale of its products or services. See Handsome Brook Farm, 193 F. Supp.



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3d at 567. Defendant simply intended the notation to be an informative statement that SPLC

flagged Plaintiffs organization as a hate group.      See Radiance Found., 786 F.3d at 336.

Therefore, the Court finds that SPLC is an interest group who made a statement that disparages

the Plaintiff, not even Plaintiffs products or services. See 135 Cong. Rec. H1216-17.

       The Court further concludes that Defendant's "informative services" is merely speech

because it does not suggest any commercial or transactional component. See Radiance Found,

786 F.3d at 336.      It is not sufficient that Plaintiff alleges that Defendant advertised its

subscription on the website because the notation itself did not propose a commercial transaction

or imply from the SPLC notation that the donors should buy its subscription. Pursuant to

Radiance Found., the Court finds that SPLC's notation was not an advertisement, did not offer

the reader anything for sale, and did not mention Plaintiffs services or Defendant's services.

See id. at 331-32. A reasonable person on Defendant's website, reading SPLC's notation, is

unlikely to read the notation as advertising a service or proposing a transaction of any kind. Id.

Therefore, the Court finds that Defendant's statement is not commercial speech.

       Because Plaintiff cannot satisfy the first element of a Lanham Act violation, the Court

does not address the other three elements of the Lanham Act. The Court finds that Plaintiff does

not have a valid claim for a violation of the Lanham Act. Therefore, Plaintiffs Lanham Act

claim fails and is dismissed.


11. Liberty CounsePs State Claims for Tortious Interference with Business Expectancy and
   Defamation


       Liberty Counsel also argues that they have sufficiently pled state claims for tortious

interference with business expectancy and defamation.

       Pendent jurisdiction, in the sense of judicial power, exists whenever there is a federal

claim, and the relationship between that claim and the state claim permits the conclusion that the
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 entire action before the court comprises but one constitutional case. See United Mine Workers of

Am. V. Gibbs, 383 U.S. 715, 725 (1966).          It has consistently been recognized that pendent

jurisdiction is a doctrine of discretion, not of plaintiffs right. Id. at 726. If the federal claims are

dismissed before trial, even though not insubstantial in a jurisdictional sense, the state claims

 should be dismissed as well.      Id.   Similarly, if it appears that the state issues substantially

predominate, whether in terms of proof, of the scope of the issues raised, or of the

comprehensiveness of the remedy sought, the state claims may be dismissed without prejudice

and left for resolution to state tribunals. Id. at 726-27 ("Once it appears that a state claim

constitutes the real body of a case, to which the federal claim is only an appendage, the state

claim may fairly be dismissed.").

        The Court will not address the two pending state law claims in this Motion. The Court,

 within its discretion, will also dismiss both state law claims because the Co\irt dismissed

Plaintiffs federal claim alleging a violation of the Lanham Act.

        Therefore, within the Court's discretion. Plaintiffs state claims are dismissed without

prejudice.

                                         IV. CONCLUSION



        For the reasons set forth above. Defendant's Motion to Dismiss is GRANTED. The

 Court DIRECTS the Clerk to send a copy of this Order to the Parties.

        IT IS SO ORDERED.



Norfolk, Virginia
January     ,2018                                                    ^        -at,
                                                                     Raymond A. Jackson
                                                                     United States District Judge




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